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UNITED STATES DISTRICT COURT, 59. phi bi 23
MIDDLE DISTRICT OF FLORIDA | ~~
ORLANDO DIVISION

UNITED STATES OF AMERICA

v. CASENO. 6:19-cr-(JQO(2L-A\ WEL
21 U.S.C. § 846
ANTONIO WALTHOUR 18 U.S.C. § 2320(a)
INDICTMENT
The Grand Jury charges:
COUNT ONE

Beginning on an unknown date, but not later than on or about July 7,
2015 and continuing through on or about August 26, 2015, in the Middle
District of Florida, and elsewhere, the defendant,

ANTONIO WALTHOUR,

did knowingly, willfully, and intentionally conspire with other persons, both
known and unknown to the Grand Jury, to possess with intent to distribute a
controlled substance, which violation involved a mixture and substance
containing a detectable amount of fentanyl, a Schedule II controlled
substance, in violation of 21 U.S.C. § 841(a)(1) and is therefore punished
under 21 U.S.C. § 841(b)(1)(C).

It was part of the conspiracy that the conspirators would perform acts

and make statements to hide and conceal and cause to be hidden and
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concealed the purpose of the conspiracy and the acts committed in furtherance
thereof.
All in violation of 21 U.S.C. § 846.
COUNT TWO
Beginning on an unknown date, but not later than on or about July 7,
2015 and continuing through on or about August 26, 2015, in the Middle
District of Florida, and elsewhere, the defendant,

ANTONIO WALTHOUR,

did intentionally conspire with other persons, both known and unknown to
the Grand Jury, to intentionally traffic in a counterfeit drug, that is, counterfeit
prescription drugs, knowingly using counterfeit marks, that is, the names
“Percocet,” “Watson,” and “Xanax,” on and in connection with the drugs, in
violation of 18 U.S.C. § 2320(a)(4).

All in violation of 18 U.S.C. § 2320(a) and (b)(3).

FORFEITURE

1. The allegations contained in Counts One and Two are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of 21 U.S.C. § 853 and 18 U.S.C. § 2323.

2. Upon conviction of a violation of 21 U.S.C. § 846, the defendant

shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a)(1) and (2),
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any property constituting, or derived from, any proceeds the defendant
obtained, directly or indirectly, as a result of such violation, and any property
used, or intended to be used, in any manner or part, to commit, or to facilitate
the commission of, such violation.

3. Upon conviction of a violation of 18 U.S.C. § 2320(a), the
defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 2320(b),
any article, the making or trafficking of which is, prohibited under section
2320, of this title; any property used, or intended to be used, in any manner or
part to commit or facilitate the commission of such offense; and any property
constituting or derived from any proceeds obtained directly or indirectly as a
result of the commission of such offense.

4, If any pf the property described above, as a result of any acts or

omissions of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third
party;

C. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

e. has been commingled with other property, which cannot
be divided without difficulty,
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the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2323(b)(2).

 

 

A TRUE BILL,
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Foreperson

MARIA CHAPA LOPEZ

United States Attorney

By: ae GB : LA
Dana E. Hill

Assistant United States Attorney

By: Alara C. QL

Sara C. Sweeney
Assistant United States Attorney
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APR 1991 No.

 

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division

 

THE UNITED STATES OF AMERICA

VS.

ANTONIO WALTHOUR

 

 

INDICTMENT
Violation:

21 U.S.C. § 846
18 U.S.C. § 2320(a)

 

 

A true bill,

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Fofep eperson

 

 

Filed in open a 22™ day of May, 2019.

 

Clerk © VY

 

 

Bail $

 

 

 

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